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                                  UNITED STATES DISTRICT COURT

                                        DISTRICT OF OREGON




   Portland General Electric Company
   ______________________________,

                              Plaintiff(s),                    3:22-cv-00533-SI
                                                     Case No.: _______________________

   v.
   State of Oregon et al.
   ______________________________,                   JOINT ALTERNATIVE DISPUTE
                                                     RESOLUTION REPORT
                        Defendant(s).
   _____________________________________

   Pursuant to LR 16-4(d), the parties to all cases, unless exempt, are required to confer regarding
   ADR and file this report within one-hundred fifty (150) days of the initiation of a lawsuit. This
   report is submitted in compliance with LR 16-4(d).

    1.      Have counsel held settlement discussions with their clients and the opposing party?
               Yes           No

            If not, provide an explanation:




   Joint Alternative Dispute Resolution Report                                                         1
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 2.      The parties propose:   (check one of the following)

            (a) That this case be referred to a neutral of their choice for ADR not
                sponsored by the Court pursuant to LR 16-4(e)(1).

            (b) That the Court refer this case to mediation using a Court-sponsored
                mediator. (See LR 16-4(f) for Court-sponsored mediation procedures).
                The parties seek a Court mediator because:




            (c) ADR may be helpful at a later date following completion of:




            (d) The parties believe the Court would be of assistance in preparing for
                ADR by:




            (e) The parties do not believe that any form of ADR will assist in the
                resolution of this case.


            (f) Other:




Joint Alternative Dispute Resolution Report                                             2
[Rev. 02/2021]
      September 6, 2022                             s/Nina R. Englander
Dated:________________________                By:   _____________________________
                                                    Of Attorneys for State of Oregon


                                              By:   s/Jack L. Orchard
                                                    ______________________________
                                                    Attorneys for Plaintiff




Joint Alternative Dispute Resolution Report                                            3
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